Case 19-14276-JDW       Doc 29     Filed 12/30/20 Entered 12/30/20 14:22:38            Desc Main
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____________________________________________________________________________
                                                    SO ORDERED,




                                                    Judge Jason D. Woodard
                                                    United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________

                        UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF MISSISSIPPI

In re: GWENDOLYN MILAN
                                                )               Case No: 19-14276
                                                )
                                                )
                                                )
                Debtor(s).                      )               Chapter:       13


       ORDER DISMISSING CHAPTER 13 CASE ON MOTION OF DEBTOR(S)

       Upon the motion of debtor(s) to dismiss the above-captioned case pursuant to 11 U.S.C. §
1307(b); and the debtor(s) having represented to the Court that this case has not previously been
converted under Section 706, 1112 or 1208 of Title 11 of the United States Code, and that the
Motion was filed and served as required by Fed. R. Bankr. P. 9013, it is hereby

       ORDERED, ADJUDGED and DECREED that

   1. The above-captioned case is hereby DISMISSED.
   2. The Chapter 13 Trustee shall file a Chapter 13 final report and account as required by
      Fed. R. Bankr. P. 5009.
   3. Pursuant to Local Rule 1017-1(f)(2)(C), notwithstanding the entry of this Order, any
      party in interest may file an objection to the debtor(s)’ motion within 14 days of the entry
      of this Order. Upon consideration of any timely-filed objection, at its discretion, the
      Court may either conduct a hearing or rule on the matter without a hearing.



                                    ##END OF ORDER##
